Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORID A

                         CASE NO. 04-60602-CIV-MARRA/SELTZER

RICHARD LANE and FAITH LANE ,

       Plaintiff,

V.

CAPITAL ACQUISITIONS AND
MANAGEMENT COMPANY , a business entity,
XYZ VENTURE PARTNERS, L .L .C., a
Florida limited liability company, ERIC WOLDOFF,
an individual , GEORGE OTHON, an individual ,
and REESE WAUGH, an individual ,

       Defendants .


  PLAINTIFFS' RESPONSE TO DEFENDANTS' OTHON, WOLDOFF, WAUGH, AND
   XYZ VENTURE PARTNERS, L .L.C., MOTION TO DISMISS PLAINTIFF'S FIRST
                         AMENDED COMPLAINT

       Plaintiffs, Richard and Faith Lane ("Lane"), through their undersigned attorneys, file this

Response to Defendants' Othon, Woldoff, Waugh, And XYZ Venture Partners, L .L .C ., Motion

to Dismiss Plaintiff's First Amended Complaint, and state :

                                        BACKGROUND

        This is an overtime and retaliation case under the Fair Labor Standards Act, 29 U .S .C. §

201 et seq ., 42 U .S.C . § 1981, and Florida Statutes § 448 .101 et seq . The Lanes were required to

work without proper payment for their overtime, they were subject to race discrimination with

respect to their pay and assignment of accounts, and after they complained about the Defendant's

race discrimination, the Defendant fired them .

       Some procedural history is relevant to the Defendants' Motion . Initially, Lane originally

sued Defendant CAMCO in early May, 2004 . CAMCO eventually ran in to financial trouble,
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 2 of 8




and was shut down by the Federal Trade Commission for engaging in violations of the Fair Debt

Collection Practices Act, and placed into a receivership by a court in Illinois . It became clear

that Lane might not be able to recover all (or any ) monies owed , and therefore , because the

individual Defendants were the individual owners of CAMCO (and CAMCO' s parent XYZ), and

were involved in the day -to-day operation of CAMCO (including the decision not to pay

overtime), Lane moved to join them as parties .        While the individual Defendants and XYZ

vigorously opposed the motion , and claimed that there was no personal jurisdiction over them in

Florida, the Lanes argued in their Reply Brief that in personam jurisdiction existed over those

parties. (Plaintiffs' Reply Memorandum in Support of Plaintiff's Motion to Add XYZ, Waugh,

Woldoff, and Othon at 5-6) . The Court granted Lane's Motion .

       There are several impo rt ant facts of which the Court should be aware . First , Lane does

not bring a cause of action against the individual Defendants pursuant to 42 U.S.C . § 1981, but

rather only brings claims against them pursuant to the Fair Labor Standards Act . Undersigned

counsel clearly conveyed this to opposing counsel , and the First Amended Complaint in ¶ 9 sets

forth that the individuals are being sued only under the FLSA .         Second , the Defendants are

conceding that Eric Woldoff is subject to personal jurisdiction . Therefore , the only issues before

the Court are whether Waugh and Othon can be held liable for overtime and whether XYZ is

liable for all of the claims . Finally, while the Defendants ' Motion refers to affidavits submitted

by Othon and Waugh , undersigned counsel has not received any such affidavits .

                                  MEMORANDUM OF LAW

         1. THE LEGAL STANDARDS FOR GRANTING A MOTION TO
              DISMIS S

       Only a generalized statement of facts needs to be set out to comply with the liberal Federa l

Rules of Civil Procedure as to notice pleading . Fed . R. Civ. P . 8(a) (stating that a pleading nee d



                                                  2
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 3 of 8




 only contain "a short and plain statement of the claim showing that the pleader is entitled to relief') .

 A classic formulation of the test often applied to determine the sufficiency of a complaint was set

 out by the Supreme Court of the United States in Conley v. Gibson. 355 U .S . 41, 45-46 (1957),

 wherein the Court stated :

          In appraising the sufficiency of the Complaint we follow . . . the accepted rule
          that a Complaint should not be dismissed for failure to state a claim unless it
          appears beyond doubt that the plaintiff can prove no set of facts in support of his
          claim which would entitle him to relief .

 Furthermore, a complaint may not be dismissed because the plaintiffs claim does not support the

 legal theory he relies on, since the Court must determine if the allegations provide relief on any

 possible theory . Robertson v . Johnston, 376 F .2d 43 (5 ' Cir. 1967) . '

         In reviewing a motion to dismiss, a court is required to view the complaint in the light most

 favorable to the plaintiff, Scheuer v. Rhodes, 416 U .S . 232 (1974), and must accept all well-pleaded

 allegations as true. Gonzalez v. McNary, 980 F.2d 1418, 1419 (11' Cir. 1993) . Additionally, and

 perhaps most importantly, "all reasonable inferences drawn from those facts are taken as true ."

 Oladeinde v. City of Birmingham, 963 F.2d 1481, 1485 (11 " Cir. 1992) (citing Stephens v.

 Department of Health and Human Servs ., 901 F .2d 1571, 1573 (11' Cir . 1990)) .

          II . LANE PROPERLY ALLEGED IN PERSONAL JURISDICTION
                OVER WAUGH AND OTHO N

         The relevant portions of the First Amended Complaint set forth how the Court has

 personal jurisdiction over the proposed defendants, as follows :

                9 . Defendants George Othon and Reese Waugh are individuals who
          conducted substantial and continuous business in the Southern District of Florida,
          and are subject to the laws of the United States and of the State of Florida . Othon
          and Waugh are owners of both XYZ and CAMCO, and had knowledge that both
          of these entities were not properly paying collectors for overtime that they wer e

 1 All Fifth Circuit decisions decided before the close of business on September 30, 1981 , are binding
 authori ty on the Eleventh Circuit . Bonner v. City of Prichard, 661 F .2d 1206, 1209 (111h Cir . 1981) (en
 banc) .


                                                      3
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 4 of 8




          due, but did nothing to rectify the situation. Therefore , Othon and Waugh are
          nonresident defendants which were engaged in business activities in the State of
          Florida , and the L anes' cause of action arises out of such activities . Because of
          these ties to the State of Florida, Waugh and Othon had sufficient minimum
          business contacts with the State of Florida for the long-arm statute to apply in
          order to secure in personam jurisdiction over them. The individual Defendants
          ran the day-to-day operations of the business, and knew that the Lanes (and other
          collectors) were not being paid the overtime that they were due, and knew that
          collectors were entitled to overtime , because the State of Illinois's Depa rtment of
          Labor investigated the Defendant for the failure to pay overtime to collectors, and
          required that the Defendant compensate those collectors for their back pay .

 (Proposed First Amended Complaint ¶ 9) (emphasis added) . The italicized portions of the First

 Amended Complaint clearly sets forth how personal jurisdiction over Waugh and Othon exists .

 The Florida statute that the Defendants claim is applicable, Florida Statutes § 48.193,

 specifically states that individuals "who personally or through an agent" is subject to personal

 jurisdiction if they "[c]omit[ ] a tortuous act within this state" or who "[o]perat[e], conduct[ ],

 engage[e] in, or carry[ ] on a business or business venture in this state or hav[e] an office or

 agency in this state" or subject to personal jurisdiction .      (Defendants' Motion at 5) (citing

 Florida Statutes § 48 .193(l)(a-b)) . The First Amended Complaint clearly allege that Waugh and

 Othon committed a tortuous act in the state, because it alleges that they knowingly allowed their

 employees not to be paid overtime . (First Amended Complaint ¶ 9) . Thus, Waugh and Othon

 are subject to personal jurisdiction under Florida Statutes § 48 .193(1)(b).

        The Court should note that CAMCO is owned by XYZ and that XYZ is owned by

 Woldoff, Waugh, and Othon . A search of the public records reveals that CAMCO's officers and

 directors are Woldoff, Waugh, and Othon . Moreover, during all relevant times, CAMCO,

 Waugh and Othon's company, had an office in the Southern District Court of Florida (First

 Amended Complaint ¶ 21), and it is alleged that they ran the day-to-day operations of that office .

 Id. ¶ 9 . Thus, Waugh and Othon are subject to personal jurisdiction under Florida Statutes §




                                                   4
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 5 of 8




 48 .193(1)(a) . If the Court does not believe that these allegations are enough to establish

 minimum contacts, Lane requests leave to amend, because there are many other more detailed

 allegations that can be asserted concerning the day-to-day operational control and decisions with

 respect to overtime made by Othon and Waugh .

           III. THE COURT HAS PERSONAL JURISDICTION OVER XYZ
                 VENTURE PARTNERS , L .L.C.

          Concerning the § 1981 claims, the recent case from the Supreme Court, Swierkiewicz v .

 Sorema, N.A., 122 S . Ct. 992 (2002), holds that a plaintiff in an employment discrimination case

 need only essentially plead that he or she was subjected to discrimination by the defendant to

 withstand a motion to dismiss . Therefore, XYZ is certainly potentially liable for the

 discrimination claims . Additionally, as alleged in the First Amended Complaint, XYZ is a

 Florida limited liability company doing business in the Southern District of Florida .      (First

 Amended Complaint ¶ 7) .

          The Eleventh Circuit has held that with respect to a parent and subsidiary, the focus is

 whether the parent has a "sufficient connection " with the subsidiary to fairly hold the parent

 liable . Jackam v. Hospital Corp . of Am., 800 F.2d 1577, 1580, 1581 (11`h Cir . 1986) . The

 Eleventh Circuit has also held that a determining factor is whether the entity sought to be held

 liable received the ultimate benefit of the labor without having to pay FLSA wages and overtime .

 Villareal v. Woodham, 113 F .3d 202, 206 (11th Cir . 1997). In this case, clearly, XYZ, as the

 corporate parent of the Defendant was receiving the ultimate benefit of the toil performed by

 Lane .

          Moreover, XYZ has a "sufficient connection" with CAMCO for XYZ to be liable here .

 There is significant interrelation of operations, and there is clearly common ownership and

 financial control, as set forth above . There is common management, as set forth above, becaus e



                                                 5
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 6 of 8




 the same executives are employed by both the parent and subsidiary entities . There is also

 centralized control of labor relations, as the individual owners of the Defendant made a decision

 not to pay overtime, and has standardized its other employment policies . There is no reason why

 the Defendant should not be held liable under this theory (both under § 1981 and the FLSA) .

         As with Title VII, under the FLSA, there are also numerous cases which hold parent

 corporations liable (with subsidiaries) for the decision not to pay overtime . See, e.g., Brennan

 J.M. Fields, Inc., 488 F .2d 443 (5`h Cir . 1973) ; Reich v. Priba Corp., 890 F . Supp. 586 (N .D .

 Tex. 1995) . There is also a regulation promulgated by the Department of Labor concerning the

 liability of multiple corporate entities entitled "Joint Employment" see 29 C .F .R. § 791 .2 (2002).

 In any event, the Department of Labor's regulation clearly sets forth that both corporate entities

 found to be joint employers are jointly and severally liable under the FLSA, as follows :

          [i]f the facts establish that the employee is employed jointly by two or more
          employers, i.e., that employment by one employer is not completely
          disassociated from employment by the other employer(s), all of the employee's
          work for all of the joint employers during the workweek is considered as one
          employment for purpose of the Act . In this event, all joint employers are
          responsible, both individually and jointly, for compliance with all of the
          applicable provisions of the Act, including overtime provisions . . . .

 29 C.F.R. § 791 .2(a) (2002).2 In this case , the information set fo rth above , and by the fact that

 the same executives are officers of all of the corporate Defendants , requires the conclusion that

 all of the named Defendants are not "completely disassociated" with Lane ' s employment .

        The broad definition of "joint employment " in the regulation emanates from the broad

 definition of "employee " in the FLSA .      Under the FLSA, an "employee" is defined as "any

 individual employed by an employer ." 29 U .S.C. § 203( e)(1). An "employer" includes "any

 person acting directly or indirectly in the interest of an employer in relation to an employee . . . .


 2 This regulation must be upheld unless it constitutes an impermissible interpretation of the statute .
 Chevron U.S.A . Inc. v. Natural Resources Defense Council, Inc ., 467 U .S . 837 (1984) .


                                                   6
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 7 of 8




 Id. § 203( d) . To "employ " is defined as to "suffer or permit to work ." Id. § 203(g) . The

 Department of Labor ' s regulations state that when multiple corporate entities benefit from

 having an individual suffer or permit to work , both entities are liable, as follows :

                (b) Where the employee performs work which simultaneously benefits
          two or more employers, or works for two or more employers at different times
          during the workweek, a joint employment relationship generally will be
          considered to exist in situations such as :


                (2) Where one employer is acting directly or indirectly in the interest of
          the other employer (or employers) in relation to the employee ;

                (3) Where the employers are not completely disassociated with respect
          to the employment of a particular employee and may be deemed to share
          control of the employee, directly or indirectly, by reason of the fact that one
          employer controls, is controlled by, or is under common control with the other
          employer .

 29 C.F .R. § 791 .2(b)(2-3) . Under the facts alleged in the First Amended Complaint as set fo rth

 above, it cannot be said that XYZ was completely disassociated from the employment given that

 XYZ and CAMCO are owned by the same people . Finally, while the Defendants repeatedly

 state that Lane has not alleged that XYZ is the alter ego of CAMCO , that is not true . While

 perhaps the First Amended Complaint does not use the words alter ego , it does state that the two

 corporate Defendants are owned by the same individuals , which makes them alter egos of each

 other. For these reasons, the Defendants ' Motion should be denied .

                                           CONCLUSION

        For the foregoing reasons, Lane respectfully requests that the Court deny the Defendants'

 Motion to Dismiss .




                                                   7
Case 0:04-cv-60602-KAM Document 53 Entered on FLSD Docket 05/19/2005 Page 8 of 8




                                             CERTIFICATE OF SERVIC E

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been duly furnished

 by U.S . mail to : Andrew P. Speranzini, Esq ., Foley & Lardner, LLP, Phillips Point, 901 West

 Tower, 777 South Flagler Drive, West Palm Beach, Florida 33401 and Michelle Stocker, Katz,

 Barron, et al., 100 N.E. 3`d Avenue, Suite 280, Fort Lauderdale, Florida 33301, this Z-ylday of

 May, 2005 .


                                                                Glasser, Boreth, Ceasar & Kleppin
                                                                Attorneys for Plaintiff
                                                                8751 W. Broward Blvd .
                                                                Suite 10 5
                                                                Plantation , FL 33324
                                                                Tel. (954) 424-1933
                                                                Fax (954) 474-7405
                                                                E-mail: Glabor@aol.com




                                                                       Chris Klep
                                                                       Fla . Bar No . 625485

                                                                       Harry 0 . Boreth
                                                                       Fla. Bar No. 190903

 C :MyDocuments/Lane/Plf sResponsetoMtoDismiss05/12/05




                                                         8
